                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  Civil Action No.



COREY HEMPHILL
                                     Plaintiff,

v.
                                                       NOTICE OF REMOVAL OF ACTION
CHARLOTTE-MECKLENBURG                                      UNDER 28 U.S.C. § 1441(b)
BOARD OF EDUCATION and                                        [Federal Question]
CHRISTOPHER K. BERNARD,
individually and in his official capacity.


                                     Defendants.


      Defendants, Charlotte Mecklenburg Board of Education and Christopher Bernard, hereby

file their Notice of Removal of this action from the North Carolina General Court of Justice,

Superior Court Division, Mecklenburg County, to the United States District Court for the

Western District of North Carolina, Charlotte Division pursuant to 28 U.S.C. § 1441. In support

of this removal, Defendants state the following:

     1. On January 23, 2024, Plaintiff initiated this action in the General Court of Justice,

        Superior Court Division, Mecklenburg County, North Carolina, Civil Action No. 24 CVS

        003839-590 by filing the Complaint. A complete copy of all process, pleadings, and

        orders served upon Defendants to date is attached as Exhibit A to this Notice of

        Removal.

     2. Defendant Christopher Bernard was served with the Summons and Complaint on

        February 6, 2024; Defendant Charlotte-Mecklenburg Board of Education was served with

        the Summons and Complaint on February 7, 2024.

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3. As required by 28 U.S.C. § 1446, this Notice of Removal is filed within 30 days after the

    receipt by the Defendants, through service, of a copy of the initial pleading setting forth

    the claim for relief upon which the action is based.

4. Pursuant to 28 U.S.C. § 1441(a), “any civil action brought in a State court of which the

    district courts of the United States have original jurisdiction, may be removed by the

    defendant ... to the district court of the United States for the district and division embracing

    the place where such action is pending.” 28 U.S.C. § 1441(a).

5. This action includes claims under 42 U.S.C. § 1983 over which this Court has original

    jurisdiction under 28 U.S.C. § 1331 and is one which may be removed to this Court in its

    entirety pursuant to 28 U.S.C. § 1441(c).

6. This Court has supplemental jurisdiction over Plaintiff’s state law causes of action pursuant

    to 28 U.S.C. § 1367.

7. Defendants submit this Notice of Removal without waiving any defenses to the claims

    asserted by Plaintiff, without conceding that Plaintiff has pleaded claims upon which relief

    can be granted, without admitting that Plaintiff has standing, and without admitting that

    Plaintiff is entitled to any monetary or equitable relief whatsoever.

8. A copy of the Notice of Removal attached as Exhibit B will be filed with the Clerk of

    Superior Court for Mecklenburg County, North Carolina, promptly after the notice is filed

    with this Court as required by 28 U.S.C. §1446(d).

9. By copy of this Notice of Removal and in accordance with the attached Certificate

   of Service, Defendants are providing notice to Plaintiff in this action and advise him of

   this filing pursuant to 28 U.S.C. § 1446(d).




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     WHEREFORE, Defendants, Charlotte-Mecklenburg Board of Education and Christopher

Bernard respectfully pray that the above-captioned action now pending against them proceed in

this Court as an action properly removed.




       This the 7TH day of March 2024.



                                                   /s/ Oksana Cody
                                                   Oksana Cody
                                                   Senior Associate General Counsel
                                                   N.C. State Bar No. 45393
                                                   Oksanak.cody@cms.k12.nc.us

                                                   /s/ Breanna E. Miller
                                                   Breanna E. Miller
                                                   Associate General Counsel
                                                   NC State Bar No. 59400
                                                   Breannae.miller@cms.k12.nc.us

                                                   Charlotte-Mecklenburg Board of Education
                                                   600 E. Fourth St., 5th Floor
                                                   Charlotte, NC 28202
                                                   Phone: (980) 343-6228
                                                   Fax: (980) 343-5739
                                                   Counsel for Defendants




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                                 CERTIFICATE OF SERVICE

This is to certify that on this date the undersigned filed the foregoing NOTICE OF REMOVAL

OF ACTION in the above-entitled action upon all parties to this cause by depositing a copy

thereof in the United States mail, first class, postage prepaid, and by electronic email, addressed

as follows:

Eric A. Montgomery
The Montgomery Law Firm, PLLC
6135 Park South Drive
Suite 510
Charlotte, NC 28210
eric@themlawfirm.com




       This the 7TH day of March 2024.

                                                      /s/ Oksana Cody
                                                      Oksana Cody
                                                      Senior Associate General Counsel
                                                      Counsel for Defendants




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